

People v Scott (2021 NY Slip Op 03795)





People v Scott


2021 NY Slip Op 03795


Decided on June 11, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 11, 2021

PRESENT: WHALEN, P.J., CENTRA, SMITH, PERADOTTO, AND TROUTMAN, JJ. (Filed June 11, 2021.) 


MOTION NO. (252/12) KA 10-02161.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vANDRE L. SCOTT, ALSO KNOWN AS ANDRE SCOTT, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








